Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 1of8

IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Jeff Samuels ) CIVIL ACTION No.
) 4:23-cv-4687
Plaintiff )
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AVT Title Services, LLC, Deutsche Bank ) govt {LED
National Trust Co., PHH Mortgage Corp., ) 408 awh
’ Power Default Services Inc. ) M
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Defendants ) ¥
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INTERVENOR-PLAINTIFF JOANNA BURKE’S VERIFIED MOTION TO STRIKE
DEFENDANTS MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE, AND ALL INTERESTED PARTIES:

Intervenor-Plaintiff Joanna Burke respectfully files this Motion to Strike Defendants’

Motion for Summary Judgment (Dkt 42) on the following grounds:

I. ARGUMENT
1. Prematurity of Defendants’ Motion

Defendants’ Motion for Summary Judgment (Dkt 42) improperly addresses the merits of
Intervenor-Plaintiff's claims without this Court first resolving its subject-matter jurisdiction.
Federal courts must establish jurisdiction as a threshold matter before considering the merits of

any claims or defenses, See Rukrgas AG v. Marathon Oil Co., 526 U.S. 574, 577 (1999).
Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 2 of 8

2. Procedural Deficiency

The Court's jurisdiction remains unresolved due to the significant procedural ambiguities
surrounding Defendants’ reliance on diversity jurisdiction. Specifically, Intervenor-Plaintiff’s
valuation, as detailed in the simultaneously filed in Plaintiff-Intervenor’s response to Defendants
Motion for Summary Judgment (Dkt 42), falls definitively below the statutory requirement of

$75,000 under 28 U.S.C. § 1332, thereby undermining the basis for federal jurisdiction.

3. Improper Conflation of Jurisdiction and Merits

Defendants’ motion (Dkt 42) improperly conflates the jurisdictional inquiry with
substantive arguments about Intervenor-Plaintiff’s interest in the case, which is procedurally
improper. Federal courts must resolve jurisdictional issues as a threshold matter before
addressing the merits of any claims or defenses. See Ruhrgas AG v. Marathon Oil Co., 526 U.S.
574, 577 (1999).

Under Federal Rule of Civil Procedure 12(f), “the court may strike from a pleading an
insufficient defense or any redundant, immaterial, impertinent, or scandalous matter,” either on
its own or upon motion by a party.

Although Defendants’ Motion for Summary Judgment is not technically a pleading under
Rule 7(a), courts have the discretion to strike filings that are procedurally improper or premature
to maintain clarity and fairness in the proceedings.

This discretion has been exercised in cases like TEVA Pharmaceuticals USA, Inc. v.
Becerra (1:25-cv-00113), District Court, District of Columbia, Feb. 27, 2025, where a motion

for summary judgment was struck as premature.
Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 3 of 8

Defendants’ premature filing further undermines their reliance on diversity jurisdiction, as
detailed in Plaintiff-Intervenor’s simultaneously filed Response to the Motion for Summary
Judgment. Without resolving the contested subject-matter jurisdiction, Defendants’ motion
improperly seeks substantive determinations that fall outside this Court’s authority at this stage.

IL REQUESTED RELIEF

WHEREFORE, PREMISES CONSIDERED, Intervenor-Plaintiff Joanna Burke
respectfully requests that this Court:

1. Strike Defendants’ Motion for Summary Judgment as premature and procedurally
improper;

2. Defer any consideration of the merits until the contested subject-matter jurisdiction is
fully resolved; and

3. Grant such further relief as the Court deems just and proper.

A proposed order has been filed separately.

DECLARATION

Pursuant to Texas Civil Practice and Remedies Code Section 132.001, and “Jn lieu of a
sworn affidavit, a litigant may submit an unsworn declaration as evidence against summary
judgment. See 28 U.S.C. §1746.”. [hereby provide my unsworn declaration. My name is Joanna
Burke, my date of birth is Nov. 25, 1938, my address is 46 Kingwood Greens Dr, Kingwood,
Texas, 77339, and I declare under penalty of perjury that all information herein is true and correct.

CONCLUSION
For the reasons stated above, this Court should GRANT Intervenor-Plaintiff’s requested

relief and provide any additional relief to which Plaintiff is entitled.
Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 4of 8

RESPECTFULLY submitted this 5th day of May, 2025,

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GN 1 Burke, Harris County
State of Texas / Pro Se

‘46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

CERTIFICATE OF WORD COUNT

I, Joanna Burke, hereby certify that INTERVENOR-PLAINTIFF JOANNA BURKE’S
VERIFIED MOTION TO STRIKE DEFENDANTS MOTION FOR SUMMARY JUDGMENT,
posted on Apeeys 7 5, 2025, complies with the word limit set by the Court. The document contains
a total of 528 words, as calculated by Microsoft Word. #&

CERTIFICATE OF CONFERENCE

On Apr. 17, 2025, this court struck the Defendants motion citing violation of the court’s
local rules and procedures (e.g. footnotes).

On Apr. 23, 2025, Defendants filed the same motion with the same deficiencies, copying
Intervenor-Plaintiff.

Pursuant to Local Rule 7.1, I attest to conferring by emailing counsel for all the parties in
these proceedings:

On Monday, April 28, 2025 9:06 AM, I wrote:

The motion appears to be the same, apart from the date and is subject to being stricken
again by the court. Do you agree?

No response was received.
On Thursday, May 1, 2025 at 7.53 AM, I wrote:

“Second Motion for Summary Judgment — Request for Conference
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Case 4:23-cv-04687 Document 44

Filed on 05/08/25 in TXSD Page 5o0f 8

I am reaching out to confer for the second time regarding your second motion for
summary judgment, which retains the same deficiencies (footnotes) that will likely result in the
motion being stricken by the court. Do you agree with this assessrnent?

If you are not planning to refile a corrected motion, I will be compelled to spend time
preparing a wasteful filing, including a motion to strike.

As you are now on formal notice, I trust you will address this matter promptly to avoid
unnecessary proceedings. I await your timely response.”

Plaintiff Jeff Samuels did not respond and | assume he is unopposed based on his own

motion to remand (denied).

No response was received.

CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the foregoing document was served on May 5,

2025 as stated below on the following:
VIA U.S. Mail:

Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208

VIA Email:
estroope@bakerdonelson.com
adelrio@bakerdonelson.com

EMILY STROOPE

State Bar No. 24070692

ALEXIS DEL RIO

State Bar No. 24120796

BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ, P.C.
5956 Sherry Lane, 20th Floor
Dallas, Texas 75225

Telephone: (713) 650-9700
Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 6of 8

Facsimile: (713) 650-9701

Attorneys for Defendants PHH Mortgage

Corporation and Deutsche Bank National Trust

Company, as Trustee for FFMLT TRUST 2004-

FF3, Mortgage Pass-Through Certificates, Series 2004-FF3

VIA Email:
Jeff.uben@gmail.com

Jeff Samuels
14810 Winding Waters Drive
Cypress, TX 77429

Pro Se Plaintiff | Jarra Uitte
/ =

Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 7 of 8

IN THE-UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Jeff Samuels ) CIVIL ACTION No.
) 4:23-cv-4687
Plaintiff )
VS. )
)
AVT Title Services, LLC, Deutsche Bank )
National Trust Co., PHH Mortgage Corp., )
Power Default Services Inc. )
)
Defendants )
)
)

ORDER
The Court has considered Intervenor-Plaintiff Joanna Burke’s Motion to Strike
Defendants’ Motion for Summary Judgment and the arguments presented therein. Upon review,
the Court finds that the Motion is well-founded and procedurally appropriate.
it is therefore ORDERED that:
1. Defendants’ Motion for Summary Judgment (Dkt 42) is hereby STRICKEN as premature
and procedurally improper.
2. The Court defers any consideration of the merits until contested subject-matter jurisdiction
is fully resolved.

IT IS SO ORDERED.

SIGNED on this

Case 4:23-cv-04687 Document 44 _ Filed on 05/08/25 in TXSD Page 8 of 8

ALFRED HOMER BENNETT
UNITED STATES DISTRICT JUDGE
